Case 21-30085-hdh11 Doc 105 Filed 02/04/21                           Entered 02/04/21 11:34:40                 Page 1 of 3



 United States Department of Justice
 Office of the United States Trustee
 1100 Commerce Street, Room 976
 Dallas, Texas 75242
 (214) 767-1240

 Lisa L. Lambert
 for the United States Trustee
 Lisa.L.Lambert@usdoj.gov



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION



IN RE:                              §                                         CHAPTER 11
                                    §
NATIONAL RIFLE ASSOCIATION          §                                         CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,        §
                                    §
      DEBTORS1                      §                                         JOINTLY ADMINISTERED
                                    §
                                    §
____________________________________§


                    Appointment of the Official Unsecured Creditors’ Committee

TO THE HONORABLE HARLIN D. HALE, U.S. BANKRUPTCY JUDGE:

         In accordance with 11 U.S.C. §1102(a)(1), the United States Trustee appoints the following

creditors to the Official Unsecured Creditors’ Committee in the above-referenced case:

                                             Interim Committee Chair:

                                          Pension Benefit Guaranty Corp.
                                                 1200 K St. N.W.
                                             Washington, DC 20005
                                                 Attn. Jack Butler




1 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The Debtors’

mailing address is 1250 Waples Mill Road, Fairfax, Virginia 22030.


Appointment of Official Unsecured Creditors Committee                                                     Page 1 of 3
Case 21-30085-hdh11 Doc 105 Filed 02/04/21                   Entered 02/04/21 11:34:40       Page 2 of 3




                                         Other Committee Members:

                                            Ackerman McQueen, Inc.
                                               Attn. Bill Winkler

                                                 InfoCision, Inc.
                                               Attn. David Hamrick

                                              Stone River Gear, LLC
                                             Attn. James J. Economos

                                                David Dell’Aquila
                                           c/o Elliott Schuchardt, Esq.

If you need email or phone contact information for a particular representative, please contact
Lisa L. Lambert at Lisa.L.Lambert@usdoj.gov.

DATED:            February 4, 2021                          Respectfully submitted,

                                                            WILLIAM T. NEARY
                                                            UNITED STATES TRUSTEE

                                                            /s/ Lisa L. Lambert
                                                            Lisa L. Lambert
                                                            Asst. U.S. Trustee, TX 11844250
                                                            (Also New York)
                                                            Office of the United States Trustee
                                                            1100 Commerce St. Room 976
                                                            Dallas, Texas 75242
                                                            (214) 767-1240
                                                            Lisa.L.Lambert@usdoj.gov




Appointment of Official Unsecured Creditors Committee                                   Page 2 of 3
Case 21-30085-hdh11 Doc 105 Filed 02/04/21                   Entered 02/04/21 11:34:40    Page 3 of 3




                                              Certificate of Service

       I certify that I sent a copy of the Appointment of the Official Unsecured Creditors’
Committee on February 4, 2021, to those parties entitled to receive electronic notice through ECF.
The mailing is being outsourced, so a separate certificate of service will be filed reflecting service
on the Master Service List.

                                                            /s/ Lisa L. Lambert
                                                            Lisa L. Lambert




Appointment of Official Unsecured Creditors Committee                                Page 3 of 3
